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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO:


   -------------------------------------
   TWO ROADS DEVELOPMENT LLC, TRILAR
   HOLDINGS LLC, and FLAGLER SOUTH
   DEVELOPMENT LLC,
                    Plaintiffs,
        v.

   PALM BEACH ATLANTIC UNIVERSITY INC.,
   FRISBIE GROUP LLC, and FH3 LLC,
                   Defendants.

   -------------------------------------



                                  COMPLAINT




                                          DOMNICK CUNNINGHAM & WHALEN
                                          2401 PGA Boulevard, Suite 140
                                          Palm Beach Gardens, FL 33410
                                          Telephone: (561) 625-6260
                                          Facsimile: (561) 625-6269

                                          GIBSON, DUNN & CRUTCHER LLP
                                          200 Park Avenue
                                          New York, NY 10166-0193
                                          Telephone: (212) 351-4000
                                          Facsimile: (212) 351-6235
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          Plaintiffs Two Roads Development LLC (“Two Roads”), Trilar Holdings LLC (“Trilar”),

  and Flagler South Development LLC (“Flagler South Development”) (collectively, “Plaintiffs”)

  for their complaint against Palm Beach Atlantic University Incorporated (“PBA”), Frisbie Group

  LLC (“Frisbie Group”), and FH3 LLC (collectively, “Defendants”) allege as follows:

                                              PARTIES

          1.      Plaintiff Two Roads Development is a Florida limited liability company.

          2.      Plaintiff Trilar Holdings LLC is a Florida limited liability company.

          3.      Plaintiff Flagler South Development LLC is a Delaware limited liability

  company.

          4.      Defendant Palm Beach Atlantic University Incorporated is a Florida company,

  with its principal place of business in West Palm Beach, Florida.

          5.      Defendant Frisbie Group LLC is a Florida limited liability company.

          6.      Defendant FH3 LLC is a Florida limited liability company.

                                   JURISDICTION AND VENUE

          7.      This Court has personal jurisdiction over Defendant Palm Beach Atlantic

  University because its principal place of business is in West Palm Beach and it is incorporated in

  the state of Florida.

          8.      This Court has personal jurisdiction over Defendant Frisbie Group because it has

  personal jurisdiction over its members who have offices and regularly transact business in Palm

  Beach, Florida.

          9.      This Court has personal jurisdiction over Defendant FH3 because it has personal

  jurisdiction over its members who have offices and regularly transact business in Palm Beach,

  Florida.




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          10.     This Court has subject matter jurisdiction over Plaintiffs’ claims under 18 U.S.C.

  § 1962(c) and 18 U.S.C. § 1836. This Court also has supplemental jurisdiction over Plaintiffs’

  common law claims pursuant to 28 U.S.C. § 1367.

          11.     Venue in the Southern District of Florida is appropriate under 28 U.S.C.

  § 1391(b) because it is the district in which a substantial part of the actions giving rise to the

  claims occurred, and it is the district in which property that is the subject of the action is situated.

                                     FACTUAL ALLEGATIONS

          12.     PBA owns two neighboring parcels of land in West Palm Beach, 1315 South

  Flagler Drive and 1401 South Flagler Drive (the “PBA Parcels” or the “Parcels”), that are

  adjacent to a site currently being developed by Plaintiffs.

          13.     After a series of negotiations, PBA committed on or about June 11, 2018 to sell

  the PBA Parcels to Plaintiffs. The resulting Letter of Intent (“LOI”) with Two Roads included a

  confidentiality provision and an exclusivity provision.

          14.     Plaintiffs negotiated a Purchase and Sale Agreement from in or about June 2018

  through in or about April 2019, when PBA counsel represented in writing that the deal was “all

  approved.” Flagler South Development executed the finalized Purchase and Sale Agreement for

  Plaintiffs, who delivered the executed agreement to PBA counsel and a PBA trustee, with

  congratulations on the completion of the deal. Thereafter, PBA dragged its feet returning the

  countersigned signature pages, attributing the delay to personal issues with the board member

  authorized to sign the agreement. Nevertheless, PBA reassured the purchaser that the university

  had approved the final Agreement and that it would be signed. PBA representatives repeated

  these representations, both directly and indirectly—in writing and verbally—throughout the

  month of May.




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         15.     Suddenly, and without any explanation, on or about May 29, 2019, PBA counsel

  sent a letter purporting to terminate the LOI and PBA’s other “obligations” to Plaintiffs.

         16.     Plaintiffs invested considerable time and resources to negotiate and finalize the

  deal. Among other things, they secured capital partners, devised a comprehensive plan to

  comply with city zoning and land use requirements, spent approximately $100,000 on an

  architect to create a full model of the building and map its placement, and developed a creative

  vision to tie the property together with certain cultural elements. Throughout these negotiations,

  Plaintiffs shared all of this confidential information with PBA under the belief, based on PBA’s

  representations, that PBA would act in conformance with its confidentiality and exclusivity

  obligations pursuant to the LOI.

         17.     On or about January 8, 2020, PBA disclosed that it had executed a sale contract

  for the Parcels with another developer. By in or about February 2020, Plaintiffs learned that it

  was Frisbie Group that had entered into a contract with PBA to purchase the PBA Parcels. On

  information and belief, this contract is materially the same as the May 2019 “all approved”

  Purchase and Sale Agreement between PBA and Flagler South Development.

         18.     On information and belief, Frisbie Group and PBA began discussions about

  putting together a deal for the PBA Parcels in or around March 2019, in violation of the LOI’s

  exclusivity requirement. The fact that PBA was putting a deal together with Plaintiffs for the

  PBA Parcels was known to the Frisbie Group prior to the commencement of its negotiations with

  PBA. Members of Frisbie Group have created FH3 LLC, which will process Frisbie Group’s

  application for government approval of their development plan for the Parcels.




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                                        CAUSES OF ACTION

                                 FIRST CLAIM FOR RELIEF
                  (Breach of Contract of Letter of Intent, Exclusivity Provision –
                                    Against Defendant PBA)

            19.   Plaintiffs incorporate by reference Paragraphs 1-18 above, as if fully set forth

  herein.

            20.   PBA entered into the LOI on June 11, 2018 with Two Roads. The LOI was a

  binding contract between the parties, for which consideration was given by each.

            21.   The LOI bound the parties to an exclusivity provision, under which the parties

  could “not entertain or enter into any other purchase agreement or financing for the [PBA

  Parcels] and each party agrees to negotiate exclusively with the other to draft and enter into a

  Purchase and Sale Agreement as contemplated herein for a period of Ninety (90) days from the

  date of this LOI. [I]n the event the parties cannot reach an agreement, either party may terminate

  the negotiations and this LOI at their sole discretion upon written notice to the other, in which

  event, neither party hereto shall thereafter have any further liability, responsibility or obligation

  to the other under this LOI.”

            22.   PBA negotiated with Two Roads and Trilar under the exclusivity provision of the

  LOI from June 11, 2018 to May 29, 2019. Based on the terms of the LOI, the parties

  unambiguously intended that in the event that no agreement was reached during the initial 90-

  day period of the LOI, the exclusivity agreement would continue unless and until one of the

  parties “terminate[s] the negotiations and this LOI . . . upon written notice to the other.” Any

  liabilities, responsibilities or obligations that the parties had to each other, including those related

  to exclusivity, would continue to apply until such termination. PBA’s May 29, 2019 letter

  explicitly terminating negotiations under the LOI further proves this mutual understanding.




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            23.    PBA breached the exclusivity provision by starting negotiations with Frisbie

  Group in or around March 2019, two months prior to terminating negotiations under the LOI.

            24.    Plaintiffs were injured and suffered damages as a result of PBA’s breach of the

  exclusivity provision, in an amount to be determined at trial.

            25.    Plaintiffs’ injuries include the lost expectancy of the PBA Parcels, the lost profits

  derived from the transaction, and Plaintiffs’ significant investments in producing the plan for the

  proposed development of the PBA Parcels, the terms of the PSA, and all due diligence

  information and documents relating to the PBA Parcels.

                                  SECOND CLAIM FOR RELIEF
                  (Breach of Contract of Letter of Intent, Confidentiality Provision –
                                      Against Defendant PBA)

            26.    Plaintiffs incorporate by reference Paragraphs 1-18 above, as if fully set forth

  herein.

            27.    The LOI, entered into by PBA and Two Roads on June 11, 2018, also included a

  confidentiality provision which stated that, inter alia, “the parties’ discussions and exchanged

  written materials relating to the proposed transaction,” including the “terms of the proposed

  Purchase and Sale Agreement,” “the proposed development of the [PBA Parcels]” and “due

  diligence information and documents relating to the [PBA Parcels],” are proprietary and

  confidential, and may not “be shown or disclosed by either party . . . to any other person or

  entity, except to those employees, attorneys, accountants or advisors who have a need to know as

  a result of being involved in the proposed transaction.”

            28.    On information and belief, PBA breached the confidentiality provision by sharing

  with Frisbie Group “the terms of the proposed [PSA]; the proposed development of the [PBA

  Parcels], and due diligence information and documents relating to the [PBA Parcels].” This

  information, by the terms of the agreement, was confidential and proprietary.


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            29.   Two Roads and the other Plaintiffs were injured and suffered damages as a result

  of Defendant PBA’s breach of the LOI’s confidentiality provision, in an amount to be

  determined at trial.

            30.   Plaintiffs’ damages include their significant investments in producing the plan for

  the proposed development of the PBA Parcels, the terms of the PSA, and all due diligence

  information and documents relating to the PBA Parcels.

                                    THIRD CLAIM FOR RELIEF
                         (Breach of Contract, Purchase and Sale Agreement –
                                      Against Defendant PBA)

            31.   Plaintiffs incorporate by reference Paragraphs 1-18 above, as if fully set forth

  herein.

            32.   Defendant PBA and Flagler South Development (on behalf of itself and the other

  Plaintiffs) formed a valid and enforceable contract for the purchase and sale of the PBA Parcels,

  for which consideration was provided on behalf of each party.

            33.   On or about April 5, 2019, PBA counsel represented that the deal was “all

  approved” and asked the purchaser to forward the executed Purchase and Sale Agreement, which

  it did, with congratulations on the completion of the deal. On or about May 2, PBA represented

  that personal issues with the board member authorized to sign the agreement were causing delays

  in returning its executed countersignature, but confirmed that the Agreement had been approved.

            34.   Defendant PBA breached this contract by failing to perform the purchase and sale

  as dictated by its terms.

            35.   Flagler South Development and the other Plaintiffs were injured and suffered

  damages as a result of Defendant PBA’s breach of the purchase and sale contract, in an amount

  to be determined at trial.




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            36.   Plaintiffs’ injuries as a result of this breach include the lost expectancy of the

  PBA Parcels, the lost profits derived from the transaction, and Plaintiffs’ significant investments

  in producing the plan for the proposed development of the PBA Parcels, the terms of the PSA,

  and all due diligence information and documents relating to the PBA Parcels.

                                  FOURTH CLAIM FOR RELIEF
                                     (Promissory Estoppel –
                                     Against Defendant PBA)

            37.   Plaintiffs incorporate by reference Paragraphs 1-18 above, as if fully set forth

  herein.

            38.    PBA made definite and substantial promises by representing, among other

  things, that the sale of the Parcels to Plaintiffs would eventually be finalized throughout the

  negotiations and, in April 2019, that the contract for the PBA Parcels was “all approved.”

            39.   Plaintiffs reasonably relied on such promises, as they were definite in nature and

  repeated consistently throughout the parties’ negotiations.

            40.   Plaintiffs were injured and suffered damages as a result of their reasonable

  reliance on Defendant PBA’s promises, in an amount to be determined at trial. In particular,

  PBA’s promises were the direct and proximate cause of Plaintiffs’ continued investment in

  anticipation of its acquisition and development of the PBA Parcels.

            41.   Plaintiffs’ damages include the lost expectancy of the PBA Parcels, the lost

  profits derived from the transaction, Plaintiffs’ significant investments in producing the plan for

  the proposed development of the PBA Parcels, the terms of the PSA, and all due diligence

  information and documents relating to the PBA Parcels.




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                                  FIFTH CLAIM FOR RELIEF
                                 (Violations of 18 U.S.C. § 1836 –
                            Against Defendants PBA and Frisbie Group)

            42.   Plaintiffs incorporate by reference Paragraphs 1-18 above, as if fully set forth

  herein.

            43.   Plaintiffs incurred significant costs to develop trade secrets with independent

  economic value unique to the Parcels. These include, inter alia, a siting and massing plan, a

  comprehensive plan to comply with city zoning and land use requirements, due diligence

  documentation, the terms of the PSA, and plans for cultural elements on the property.

            44.   These trade secrets involved interstate commerce and related to a product that was

  intended for use in interstate commerce. The plans involved out of state actors and resources,

  involved capital partners located outside the state of Florida, and involved a condominium that

  would be marketed beyond Florida.

            45.   Plaintiffs took reasonable measures to keep this information a secret. Plaintiffs

  did not publicize this information and maintained adequate security to protect their computers,

  files, documents, and other records that stored information relating to these trade secrets.

  Plaintiffs included a confidentiality provision in the LOI between Two Roads and PBA in an

  attempt to protect this information.

            46.   PBA misappropriated this information when it misrepresented its intentions to

  consummate the Purchase and Sale Agreement with Plaintiffs. PBA continued to indicate its

  intentions of completing the deal with Plaintiffs while dealing with Frisbie Group, all the while

  receiving Plaintiffs’ confidential business information throughout these negotiations. On

  information and belief, PBA violated its confidentiality obligations by sharing this information

  with Frisbie Group as early as March 2019. On information and belief, Frisbie Group used these




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  trade secrets, which it knew were acquired by improper means, to reach an agreement with PBA

  and to plan its development on the PBA Parcels.

            47.   Starting in or around August 2019, Plaintiffs and Frisbie Group began serious

  discussions around co-developing the PBA Parcels, under an implied confidentiality

  understanding. Unbeknownst to Plaintiffs, Frisbie Group misrepresented its intent to co-develop

  the property with Plaintiffs to obtain Plaintiffs’ confidential business information. Pursuant to

  this relationship, Plaintiffs shared its trade secrets with Frisbie Group.

            48.   Plaintiffs’ damages include their significant investments in producing the plan for

  the proposed development of the PBA Parcels, the terms of the PSA, and all due diligence

  information and documents relating to the PBA Parcels.

                                  SIXTH CLAIM FOR RELIEF
                                (Violations of 18 U.S.C. § 1962(c) –
                            Against Defendants PBA and Frisbie Group)

            49.   Plaintiffs incorporate by reference Paragraphs 1-18 above, as if fully set forth

  herein.

            50.   At all relevant times, Defendants PBA and Frisbie Group were and are each a

  “person” within the meaning of 18 U.S.C. § 1961(3).

            51.   PBA, Frisbie Group, and FH3 constitute an association-in-fact enterprise (the

  “Enterprise”) within the meaning of 18 U.S.C. §§ 1961(4) and 1962(c). The members of the

  Enterprise are a group of persons associated together for the common purpose of carrying on an

  ongoing enterprise to, inter alia, misrepresent their intentions regarding the sale and

  development of the PBA Parcels in order to benefit from Plaintiffs’ confidential information and

  obtain Plaintiffs’ approval for the project. PBA and Frisbie Group are responsible for the

  operation and management of the Enterprise and its affairs.




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         52.     At all relevant times, the Enterprise engaged in, and its activities affected,

  interstate commerce within the meaning of 18 U.S.C. § 1962(c). In furtherance of the

  Enterprise’s goals, members of the Enterprise engaged in communications via email and

  telephone spanning Florida, New York, and Massachusetts. Counsel for Plaintiffs’ capital

  partners during these negotiations were also located outside of Florida and communicated with

  PBA by email and telephone calls that crossed state lines. On information and belief, the

  Enterprise, moreover, held and transferred funds and assets across state lines and using national

  and international financial institutions.

         53.     In furtherance of the Enterprise’s goal, a member of the Frisbie Group spoke on

  the phone with a Two Roads principal, who was in Europe at the time, and misrepresented his

  knowledge of Plaintiffs’ negotiations with PBA. Members of the Frisbie Group also frequently

  emailed Plaintiffs from Massachusetts in furtherance of the plan, when Plaintiffs and their

  employees were located in Florida and New York. FH3, whose members are also members of

  Frisbie Group, currently benefit from Plaintiffs’ confidential information as they apply for

  government approval for development of the parcels.

         54.     The Enterprise’s plan has been in operation since at least early 2019 and it is

  ongoing and continuing. It includes multiple predicate acts, constituting a pattern, within the

  meaning of 18 U.S.C. §§ 1961(1) and (5), in violation of 18 U.S.C. § 1962(c). Each predicate

  act is part of the same continuous and overarching plan. These acts took place after 1970 and the

  last act occurred within ten years after the commission of a prior act.

         55.     The activity set forth herein was the direct and proximate cause of Plaintiffs’

  injuries, including because the plan to mislead Plaintiffs led to Plaintiffs’ loss of possession and

  ownership of the PBA Parcels.




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            56.   Plaintiffs’ injuries include the lost expectancy of the PBA Parcels, the lost profits

  derived from the transaction, and Plaintiffs’ significant investments in producing the plan for the

  proposed development of the PBA Parcels, the terms of the PSA, and all due diligence

  information and documents relating to the PBA Parcels.

                                 SEVENTH CLAIM FOR RELIEF
                                  (Tortious Interference with Contract –
                                    Against Defendant Frisbie Group)

            57.   Plaintiffs incorporate by reference Paragraphs 1-18 above, as if fully set forth

  herein.

            58.   PBA was bound by the LOI and the PSA.

            59.   On information and belief, Frisbie Group knew of these contracts.

            60.   Frisbie Group intentionally and unjustifiably interfered with these contracts when

  Frisbie Group engaged with PBA to negotiate to purchase the PBA Parcels. On information and

  belief, Frisbie Group engaged with PBA despite knowing that PBA was bound by an exclusivity

  agreement and confidentiality agreement with Two Roads. Frisbie Group saw an opportunity to

  reach a quick deal with PBA by utilizing Plaintiffs’ detailed plan for the development, terms of

  the PSA, and due diligence documentation. Together, these actions amount to improper

  behavior.

            61.   Frisbie Group’s interference resulted in PBA violating the LOI and purporting to

  back out of the PSA. Plaintiffs’ damages include the lost expectancy of the Parcels, the lost

  profits derived from the transaction, and Plaintiffs’ significant investments in producing the plan

  for the proposed development of the PBA Parcels, the terms of the PSA, and all due diligence

  information and documents relating to the PBA Parcels.




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                                 EIGHTH CLAIM FOR RELIEF
                        (Tortious Interference with Business Relationship –
                                Against Defendant Frisbie Group)

            62.   Plaintiffs incorporate by reference Paragraphs 1-18 above, as if fully set forth

  herein.

            63.   Plaintiffs and PBA had a business relationship from January 2018 to at least May

  2019, evidenced by their intensive negotiations throughout this period, which culminated in the

  May 2019 PSA.

            64.   Frisbie Group knew of this business relationship by at least December 2018.

            65.   Frisbie Group intentionally and unjustifiably interfered with this business

  relationship when Frisbie Group engaged with PBA to negotiate to purchase the Parcels. On

  information and belief, Frisbie Group engaged with PBA with full knowledge that PBA was

  bound by an exclusivity agreement and confidentiality agreement with Two Roads. Frisbie

  Group saw an opportunity to reach a quick deal with PBA by utilizing Plaintiffs’ confidential

  plan for the development, terms of the PSA, and due diligence documentation. These actions

  amount to improper behavior.

            66.   Plaintiffs’ damages include the lost expectancy of the Parcels, the lost profits

  derived from the transaction, and their significant investments in producing the plan for the

  proposed development of the PBA Parcels, the terms of the PSA, and all due diligence

  information and documents relating to the PBA Parcels.

                                   NINTH CLAIM FOR RELIEF
                                       (Unjust Enrichment –
                                      Against All Defendants)

            67.   Plaintiffs incorporate by reference Paragraphs 1-18 above, as if fully set forth

  herein.




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         68.     As the intended and expected result of their actions, Defendants have profited and

  benefited from Plaintiffs’ confidential business information, including in being able to quickly

  and inexpensively finalize a vision and plan to develop the Parcels and apply for government

  approval.

         69.     Plaintiffs did not receive any benefit for providing this information.

         70.     PBA continued to indicate its intentions of completing the deal with Plaintiffs

  while dealing with Frisbie Group, all the while receiving Plaintiffs’ confidential business

  information throughout these negotiations. On information and belief, PBA violated its

  confidentiality obligations by sharing Plaintiffs’ confidential business information with Frisbie

  Group as early as March 2019. On information and belief, Frisbie Group engaged with PBA

  with knowledge that PBA was bound by an exclusivity and confidentiality agreement and with

  the intent of using Plaintiffs’ work on the development of the Parcels to its own benefit. The

  circumstances surrounding Defendants’ receipt of Plaintiffs’ confidential information is such

  that, in equity and good conscience, Defendants should not retain the value of this information

  and any resulting profits or benefits.

         71.     Plaintiffs are entitled in equity to restitution of Defendants’ wrongful profits and

  benefits received as a result of their improper behavior. This restitution would include Plaintiffs’

  considerable time and expense invested in producing the plan for the proposed development of

  the PBA Parcels, the terms of the PSA, and all due diligence information and documents relating

  to the PBA Parcels, as well as all profits and other benefits received by Defendants from the

  contract entered into between PBA and Frisbie Group and the anticipated development of the

  Parcels by Frisbie Group and FH3 LLC.




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                                   TENTH CLAIM FOR RELIEF
                                     (Specific Performance –
                                     Against All Defendants)

            72.   Plaintiffs incorporate by reference Paragraphs 1-18 above, as if fully set forth

  herein.

            73.   Plaintiffs are entitled to the PBA Parcels, including because Two Roads

  completed the Letter of Intent with PBA and Flagler South Development completed the Purchase

  and Sale Agreement with PBA for the purchase of the parcels. Plaintiffs were financially able

  and willing to purchase the PBA Parcels for the agreed-upon price, having already obtained

  financing for the purchase. Plaintiffs are also clearly entitled to the PBA Parcels for the

  additional legal and equitable reasons set forth herein, including their reasonable reliance on

  PBA’s promises and representations.

            74.   There is no adequate remedy at law, as the PBA Parcels are unique parcels of land

  that cannot be replaced, including because land is inherently a unique commodity as a matter of

  law; because there is a severe shortage of property available for development as water-facing

  luxury projects in West Palm Beach, and an even greater shortage in the specific area of West

  Palm Beach in which the PBA Parcels are located, with the PBA Parcels constituting the last

  available parcels suitable to such development in that area; because of the unquantifiable vision,

  energy, time, and other resources Plaintiffs have already infused into the project (which were

  ultimately used by Defendants); because Plaintiffs already own and are already developing the

  adjoining property, such that no other property can replace or take the place of the PBA Parcels;

  and because the Frisbie Group’s planned development of the PBA Parcels will cause

  unquantifiable harm to Plaintiffs and their project on the adjoining property.

            75.   Justice requires specific performance in the form of an order entitling Plaintiffs

  (through Flagler South Development LLC) to take ownership and possession of the PBA Parcels,


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  and directing Defendants to take such steps and actions as are necessary to effectuate the transfer

  to Plaintiffs (through Flagler South Development LLC) of such ownership and possession,

  including specific performance of the Purchase and Sale Agreement.

                                      JURY TRIAL DEMAND

         76.     Plaintiffs demand a jury trial on all issues so triable.

                                       PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs prays for judgment against Defendants on all claims, and

  requests a judgment providing the following relief:

         A.      Judgment in Plaintiffs’ favor and against Defendants on all causes of actions;

         B.      For compensatory damages in an amount to be proven at trial;

         C.      For punitive damages and exemplary damages according to proof at trial;

         D.      For treble damages pursuant to 18 U.S.C. § 1964(c);

         E.      For specific performance in the form of an order entitling Plaintiffs (through

                 Flagler South Development LLC) to take ownership and possession of the PBA

                 Parcels and directing Defendants to take such steps and actions as are necessary to

                 effectuate the transfer to Plaintiffs (through Flagler South Development LLC) of

                 such ownership and possession, including specific performance of the Purchase

                 and Sale Agreement;

         F.      For an order enjoining any transfer of title to the PBA Parcels, or any closing

                 relating to the PBA Parcels, between PBA and Frisbie Group, FH3 LLC, or any

                 related entity, and enjoining or unwinding any related closings or contracts, to the

                 extent necessary to effectuate the other relief requested;

         G.      For costs of suit incurred herein;

         H.      For prejudgment interest;


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        I.    For attorneys’ fees and costs, including as warranted by applicable laws; and

        J.    For such other and further relief as the Court may deem to be just and proper.

        Dated:
        November 12, 2021
                                                   DOMNICK CUNNINGHAM & WHALEN


                                                   By: /s/ Sean C. Domnick
                                                      Sean C. Domnick
                                                         Florida Bar No.: 843679
                                                         sean@dcwlaw.com
                                                      Matthew T. Christ
                                                          Florida Bar No.: 0119106
                                                          mtc@dcwlaw.com

                                                       2401 PGA Boulevard, Suite 140
                                                       Palm Beach Gardens, FL 33410
                                                       Telephone: (561) 625-6260
                                                       Facsimile: (561) 625-6269


                                                   GIBSON, DUNN & CRUTCHER LLP

                                                       Reed Brodsky
                                                        RBrodsky@gibsondunn.com
                                                        (pro hac vice application forthcoming)
                                                       Akiva Shapiro
                                                        AShapiro@gibsondunn.com
                                                        (pro hac vice application forthcoming)
                                                       Diane Chan
                                                        DChan@gibsondunn.com
                                                        (pro hac vice application forthcoming)
                                                       Michael McQueeney
                                                        MMcQueeney@gibsondunn.com
                                                        (pro hac vice application forthcoming)

                                                       200 Park Avenue
                                                       New York, NY 10166-0193
                                                       Telephone: (212) 351-4000
                                                       Facsimile: (212) 351-6235

                                                   Attorneys for Plaintiffs Two Roads
                                                   Development LLC, Trilar Holdings LLC and
                                                   Flagler South Development LLC



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